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                                                                       THE HONORABLE JOHN H. CHUN
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                                  UNITED STATES DISTRICT COURT
 6                               WESTERN DISTRICT OF WASHINGTON
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 8   SONNY JOYCE, Individually and on Behalf :                    No.: 2:22-cv-00617-JHC
     of All Others Similarly Situated,                        :
 9                                                            :   MOTION OF UNIVERSAL-
                                Plaintiff,                    :   INVESTMENT-GESELLSCHAFT
10                                                            :   MBH AND UNIVERSAL-
              v.                                              :   INVESTMENT-LUXEMBOURG S.A.
11
                                                              :   FOR APPOINTMENT AS LEAD
12   AMAZON.COM, INC., ANDREW R.                              :   PLAINTIFF AND APPROVAL OF
     JASSY, JEFFREY P. BEZOS, BRIAN T.                        :   LEAD COUNSEL AND
13   OLSAVSKY, DAVID A. ZAPOLSKY, and :                           MEMORANDUM OF POINTS AND
     NATE SUTTON,                                             :   AUTHORITIES IN SUPPORT
14                                                            :
15                              Defendants.                   :   ORAL ARGUMENT REQUESTED
                                                              :
16                                                            :   NOTE ON MOTION CALENDAR:
                                                              :   JULY 22, 2022
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 1            PLEASE TAKE NOTICE that, on a date and time as may be set by the Court, Universal-

 2   Investment-Gesellschaft mbH (“Universal Germany”) and Universal-Investment-Luxembourg

 3   S.A. (“Universal Luxembourg,” and together, “Universal”) will, and hereby do, move this Court

 4   pursuant to Section 21D(a)(3)(B) of the Securities Exchange Act of 1934 (“Exchange Act”), as

 5   amended by the Private Securities Litigation Reform Act of 1995 (the “PSLRA”), 15 U.S.C.

 6   § 78u-4(a)(3)(B), for entry of an Order (i) appointing Universal as Lead Plaintiff to represent all

 7   those who purchased or otherwise acquired the publicly traded common stock of Amazon.com,

 8   Inc. during the Class Period pursuant to the PSLRA, 15 U.S.C. § 78u-4; and (ii) approving

 9   Universal’s selection of Motley Rice LLC (“Motley Rice”) as Lead Counsel on behalf of the

10   proposed Class.

11            This Notice of Motion and Motion are made on the grounds that Universal is the “most

12   adequate plaintiff” pursuant to the Exchange Act. See 15 U.S.C. § 78u-4(a)(3)(B). Universal

13   meets the requirements of Federal Rule of Civil Procedure 23(a) (“Rule 23”) because its claims

14   are typical of other Class members’ claims and because it will fairly and adequately represent the

15   Class.

16            This Motion is based upon the accompanying Memorandum of Points and Authorities in

17   support thereof, the Declaration of Christopher F. Moriarty (“Moriarty Decl.”), the pleadings and

18   files referenced herein, and such other written or oral arguments as may be presented to the Court.

19   A proposed order is also submitted herewith.

20            For the foregoing and following reasons, Universal respectfully requests that the Court:

21   (i) appoint Universal Lead Plaintiff pursuant to the PSLRA; (ii) approve Motley Rice as Lead

22   Counsel for the proposed Class; and (iii) grant such other and further relief as the Court may deem

23   just and proper.

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 1                                      MEMORANDUM OF LAW
 2                         NATURE AND STAGE OF THE PROCEEDINGS
 3          The Action presently pending before this Court is brought on behalf of those who
 4   purchased or otherwise acquired Amazon.com, Inc. (“Amazon” or the “Company”) stock
 5   between February 1, 2019 and April 5, 2022, both dates inclusive (the “Class Period”), which
 6   seeks to recover damages caused by Defendants’ violations of the Exchange Act.
 7          Another action, CWA Local 118 Members’ Annuity Fund and CWA Local 1180
 8   Administrative Benefits Fund v. Amazon.com, Inc., et al., No. 2:22-cv-00907 (W.D. Wash.) (the
 9   “CWA Local Action”), was filed on June 28, 2022. The CWA Local Action was brought “on
10   behalf of persons and entities that acquired Amazon common stock between February 1, 2019
11   and April 28, 2022, inclusive . . . against the Defendants . . . for Defendants’ violations of sections
12   10(b) and 20(a) of the [Exchange Act.]” CWA Local Action, Class Action Complaint ¶ 1, ECF
13   No. 1. The CWA Local Action pleads an additional corrective disclosure on April 28, 2022, and
14   a subsequent 14.05% drop in Amazon’s stock price the following day, which allegedly caused
15   damage to investors. Id. at ¶¶ 16, 17. On June 30, 2022, the plaintiffs in the CWA Local Action
16   dismissed their Class Action Complaint without explanation. See CWA Local Action, ECF No.
17   10. Accordingly, at this stage, the only Class Period on file is between February 1, 2019 and
18   April 5, 2022, both dates inclusive. 1
19          With respect to the appointment of a lead plaintiff to oversee the Action, Congress
20   established a presumption in the PSLRA that requires the Court to appoint the “most adequate
21   plaintiff” as the lead plaintiff for the Action. 15 U.S.C. § 78u-4(a)(3)(B)(i). The “most adequate
22
     1
       Given the timing of the filing of the CWA Local Action and its subsequent prompt dismissal
23   right before the July 4, 2022 holiday weekend, Universal reserve the right to request the Court
     enquire into the reasons behind the dismissal, especially given that the longer class period alleged
24
     in the CWA Local Action significantly impacts certain Class members’ losses, including
25   Universal’s, and Universal’s reliance on the class period alleged in the CWA Local Action in
     bringing this Motion.
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 1   plaintiff” is the person who has the “largest financial interest in the relief” and who also satisfies

 2   Rule 23’s typicality and adequacy requirements for class representatives. 15 U.S.C. § 78u-

 3   4(a)(3)(B)(iii)(I).

 4           With losses of $89,684,614.78 during the expanded class period alleged in the CWA Local

 5   Action, and $62,700,150.75 in the Class Period alleged in this Action, Universal, to the best of

 6   its counsel’s knowledge, has the largest financial interest in this litigation of any movant.

 7   Universal also satisfies Rule 23’s typicality and adequacy requirements. Universal’s claims are

 8   typical of the Class’s claims because Universal Germany’s and Universal Luxembourg’s funds

 9   suffered losses on their Amazon investments as a result of Defendants’ false and misleading

10   statements. Further, Universal has no conflict with the Class and will adequately protect the

11   Class’s interests given their significant stake in the litigation and their conduct to date in

12   prosecuting the litigation, including their submission of the requisite certifications and selection

13   of experienced lead counsel. Accordingly, Universal is the presumptive Lead Plaintiff.

14           Lastly, if appointed Lead Plaintiff, Universal is entitled to select, subject to Court

15   approval, lead counsel to represent the Class. See 15 U.S.C. § 78u-4(a)(3)(B)(v). Universal has

16   engaged Motley Rice for this purpose. Motley Rice is an appropriate selection to serve as Lead

17   Counsel because it is a highly experienced firm with substantial securities class action experience.

18           For the reasons summarized above and those explained more fully below, Universal’s

19   Motion should be granted in its entirety.

20                                     FACTUAL BACKGROUND

21           Amazon is a multinational technology company that engages primarily in the businesses

22   of e-commerce, cloud computing, digital streaming, and artificial intelligence. On the Company’s

23   Amazon.com e-commerce platform, Amazon sells both third-party merchandise and Amazon’s

24   own private-label products. As the owner and operator of the Amazon.com e-commerce platform,

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 1   Amazon has access to certain non-public data of the third-party sellers that use the Amazon.com

 2   platform.

 3          On or around June 3, 2019, the U.S. House Committee on the Judiciary initiated a

 4   bipartisan investigation into the state of competition online. The investigation, led by the

 5   Subcommittee on Antitrust, Commercial and Administrative Law (the “Subcommittee”),

 6   examined the business practices and market dominance of Facebook, Google, Apple, and, of

 7   particular relevance, Amazon (the “Subcommittee Investigation”). During the course of the

 8   Subcommittee Investigation, the Subcommittee held several oversight hearings in which various

 9   officers of the above-referenced companies, including their respective Chief Executive Officers,

10   offered witness testimony on topics such as the effect of market power on the press, innovation,

11   and privacy, and the market dominance of the companies under investigation. After each of the

12   hearings, members of the Subcommittee submitted questions on the record for the witnesses.

13          The Class Action Complaint (the “Complaint,” ECF No. 1) alleges that throughout the

14   Class Period, Defendants made false and/or misleading statements and/or failed to disclose that:

15   (i) Amazon engaged in anticompetitive conduct in its private-label business practices, including

16   giving Amazon products preference over those of its competitors and using third-party sellers’

17   non-public data to compete with them; (ii) the foregoing exposed Amazon to a heightened risk of

18   regulatory scrutiny and/or enforcement actions; and (iii) Amazon’s revenues derived from its

19   private-label business were in part the product of impermissible conduct and thus unsustainable.

20          On March 9, 2022, media outlets reported that the House Judiciary Committee had

21   requested that the U.S. Department of Justice open a criminal investigation into Amazon and

22   certain of its executives for allegedly lying to Congress about its business practices during the

23   course of the Subcommittee Investigation. In response, Amazon asserted that there was “no

24   factual basis” for the House Judiciary Committee’s allegations. Then, on April 6, 2022, The Wall

25   Street Journal published an article entitled “SEC Is Investigating How Amazon Disclosed

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 1   Business Practices.” The article reported, inter alia, that the U.S. Securities and Exchange

 2   Commission’s probe has been underway for more than a year, focusing on Amazon’s disclosures

 3   regarding its use of third-party seller data for its own private-label business. On this news,

 4   Amazon’s stock price declined $105.98 per share, or 3.2%, to close at $3,175.12 per share on

 5   April 6, 2022. 2 Moreover, as alleged in the CWA Local Action, as further information related to

 6   Defendants’ misconduct was revealed on April 28, 2022, Amazon’s share price declined an

 7   additional 14.05%.

 8          As a result of Defendants’ wrongful acts and omissions, and the resulting declines in the

 9   market value of the Company’s stock, Universal and other members of the Class have suffered

10   significant damages.

11                                              ARGUMENT

12   A.     Universal Should Be Appointed Lead Plaintiff

13          1.      The PSLRA Standard For Appointing Lead Plaintiff

14          The PSLRA governs the appointment of a lead plaintiff for “each private action arising

15   under [the Exchange Act] that is brought as a plaintiff class action pursuant to the Federal Rules

16   of Civil Procedure.” 15 U.S.C. § 78u-4(a)(l); see also 15 U.S.C. § 78u-4(a)(3)(B). It provides

17   that within 20 days of the filing of an action, the plaintiff is required to publish notice in a widely

18   circulated business-oriented publication or wire service, informing class members of their right

19   to move the Court, within 60 days of the publication, for appointment as lead plaintiff. See 15

20   U.S.C. § 78u-4(a)(3)(A).

21          Under the PSLRA, the Court is then to consider any motion made by class members and

22   is to appoint as lead plaintiff the movant that the Court determines to be “most capable of

23   adequately representing the interests of class members . . . .” 15 U.S.C. § 78u-4(a)(3)(B)(i).

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25    Adjusted for a 20:1 split that took place on June 6, 2022, the price of Amazon common stock
     declined by $5.299 per share to close at $158.756 per share.
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 1   Further, the PSLRA establishes a rebuttable presumption that the “most adequate plaintiff” is the

 2   person that:

 3          (aa) has either filed the complaint or made a motion in response to a notice
            [published by a complainant]; (bb) in the determination of the court, has the largest
 4          financial interest in the relief sought by the class; and (cc) otherwise satisfies the
            requirements of Rule 23 of the Federal Rules of Civil Procedure.
 5
     15 U.S.C. § 78u-4(a)(3)(B)(iii)(I).
 6
            Once it is determined who among the movants seeking appointment as lead plaintiff is the
 7
     presumptive lead plaintiff, the presumption can be rebutted only upon proof by a class member
 8
     that the presumptive lead plaintiff: “(aa) will not fairly and adequately protect the interests of the
 9
     class; or (bb) is subject to unique defenses that render such plaintiff incapable of adequately
10
     representing the class.” 15 U.S.C. § 78u-4(a)(3)(B)(iii)(II).
11
            2.      Under the PSLRA, Universal Should be Appointed Lead Plaintiff
12
            As discussed below, Universal should be appointed Lead Plaintiff because all of the
13
     PSLRA’s procedural hurdles have been satisfied, Universal has the largest financial interest of
14
     any movant, and Universal otherwise satisfies Rule 23’s typicality and adequacy requirements.
15
                    a.      Universal’s Motion Is Timely
16
             Pursuant to the PSLRA, the first plaintiff to file a complaint in the Action was required
17
      to publish notice within twenty (20) days of its filing. 15 U.S.C. § 78u-4(a)(3)(A)(i). Counsel
18
      for first-filed plaintiff, Sonny Joyce, published notice of the lead plaintiff deadline via
19
      GlobeNewswire on May 6, 2022. See Moriarty Decl. Ex. A. Consequently, any member of the
20
      proposed Class was required to seek to be appointed lead plaintiff within 60 days after
21
      publication of the notice, i.e., on or before July 5, 2022. See 15 U.S.C. § 78u-4(a)(3)(A)(i)(II);
22
      Fed. R. Civ. P. 6(a)(1)(C). Thus, Universal’s Motion is timely filed.
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 1          Additionally, pursuant to Section 21D(a)(2) of the Exchange Act, Universal timely signed

 2   and submitted the requisite certifications. See Moriarty Decl. Ex. B. The PSLRA’s procedural

 3   requirements have therefore been met.

 4                  b.      Universal Has the Largest Financial Interest

 5          The PSLRA instructs the Court to adopt a rebuttable presumption that the “most adequate

 6   plaintiff” for lead plaintiff purposes is the person with the largest financial interest in the relief

 7   sought by the class. 15 U.S.C. § 78u-4(a)(3)(B)(iii)(I)(bb).          To the best of its counsel’s

 8   knowledge, Universal has the largest financial interest of any Amazon investor seeking to serve

 9   as Lead Plaintiff based on the four factors articulated in Lax v. First Merchants Acceptance Corp.,

10   No. 97 C 2715, 1997 WL 461036 (N.D. Ill. Aug. 11, 1997): (1) the number of shares purchased;

11   (2) the number of net shares purchased (also referred to as “retained shares”); (3) the total net

12   funds expended; and (4) the approximate losses suffered. Id. at *5. In accordance with courts

13   nationwide, the Lax factors have been adopted by courts in the Ninth Circuit, including in this

14   District. See, e.g., Cook v. Atossa Genetics, Inc., No. C13-1836-RSM, 2014 WL 585870, at *3

15   (W.D. Wash. Feb. 14, 2014); Reinschmidt v. Amazon, Inc., No. 12-2084-RSM, 2013 WL

16   1092129, at *2 (W.D. Wash. Mar. 14, 2013).

17          Overall, during the Class Period, Universal’s funds purchased 2,478,400 net and

18   2,861,140 total Amazon shares, expended $368,471,586 in net funds, and suffered losses of

19   $62,700,150.75. See Moriarty Decl. Ex. C (loss charts). During the class period alleged in the

20   CWA Local Action, Universal’s funds purchased 2,521,920 net and 2,905,080 total Amazon

21   shares, expended $374,950,128 in net funds, and suffered losses of $89,684,615. Universal is

22   unaware of any other movant with a larger financial interest in the outcome of this litigation.

23                  c.      Universal Satisfies the Requirements of Rule 23

24          The PSLRA also requires that, in addition to possessing the largest financial interest in

25   the outcome of the litigation, the lead plaintiff must satisfy the requirements of Rule 23. See

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 1   15 U.S.C. § 78u-4(a)(3)(B)(iii)(I)(cc). When assessing a potential lead plaintiff, only Rule

 2   23(a)’s typicality and adequacy requirements are relevant. See, e.g., Schonfield v. Dendreon

 3   Corp., No. C07-800MJP, 2007 WL 2916533, at *4 (W.D. Wash. Oct. 4, 2007) (holding that the

 4   “inquiry shall focus solely on the ‘typicality’ and ‘adequacy’ aspects of that rule (as the other

 5   elements of Rule 23 go to the issue of the certification of the class as a whole).”).

 6          “The test of typicality ‘is whether other members have the same or similar injury, whether

 7   the action is based on conduct which is not unique to the named plaintiffs, and whether other class

 8   members have been injured by the same course of conduct.’” Richardson v. TVIA, Inc., No. C 06

 9   06304 RMW, 2007 WL 1129344, at *4 (N.D. Cal. Apr. 16, 2007) (quoting Hanon v.

10   Dataproducts Corp., 976 F.2d 497, 508 (9th Cir. 1992)). Here, Universal’s claims are clearly

11   typical of the Class’s claims because Universal’s funds purchased Amazon common stock during

12   the Class Period and suffered damages as a result of the Defendants’ false and misleading

13   statements. Because the factual and legal bases of Universal’s claims are identical to those of the

14   Class’s claims, Universal necessarily satisfies the typicality requirement.

15          Furthermore, as the respective management companies of their funds, Universal Germany

16   and Universal Luxembourg have the exclusive right to represent their funds, which cannot bring

17   claims themselves as they are not separate legal entities. Universal Germany is organized as a

18   Kapitalverwaltungsgesellschaft (“KVG”) under German law. Universal Luxembourg is

19   organized as a société anonyme (“SA”) under Luxembourg law. Both Universal Germany and

20   Universal Luxembourg make investments in their own name for the benefit of the investment

21   funds that they manage. KVGs and SAs are routinely appointed as lead plaintiffs and class

22   representatives and courts recognize they have standing to represent their funds in the same

23   circumstances as here. See, e.g., Bricklayers’ & Allied Craftworkers Loc. #2 Albany, NY Pension

24   Fund v. New Oriental Educ. & Tech. Grp. Inc., No. 22 CIV. 1014 (VM), 2022 WL 1515451, at

25   *4 (S.D.N.Y. May 13, 2022) (appointing a German KVG as lead plaintiff and noting “ACATIS

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 1   [Kapitalverwaltungsgesellschaft mbH] is an asset manager bringing suit on behalf of its injured

 2   investment fund” and “that ACATIS is the only party that can assert its rights and sue on its

 3   behalf. This is enough on a motion for appointment as lead plaintiff.”); In re Vivendi Universal,

 4   S.A.   Sec.   Litig.,   605   F.   Supp.    2d   570,    578,   579    (S.D.N.Y.     2009)    (German

 5   Kapitalanlagegesellschafts (the predecessor to KVGs) have the “exclusive authority to sue on

 6   behalf of the funds” and Luxembourg “management companies have exclusive rights to manage

 7   the funds and bring legal actions against third parties”); Corwin v. Seizinger, No. 07 CIV. 6728

 8   (DC), 2008 WL 123846 (S.D.N.Y. Jan. 8, 2008) (appointing Axxion SA Luxemburg as lead

 9   plaintiff). In sum, without Universal Germany and Universal Luxembourg pursuing the claims,

10   the funds cannot seek recovery. See, e.g., Weston v. DocuSign, Inc., No. 22-cv-00824-WHO,

11   2022 WL 1301770, at *5 (N.D. Cal. Apr. 18, 2022) (“There is a sufficiently close relationship

12   between [Deka International S.A. Luxembourg] and the funds at issue, as indicated by the

13   statement that [Deka International S.A. Luxembourg] manages the funds and has the exclusive

14   right and obligation to bring claims on their behalf.”).

15           While the foregoing is sufficient, W.R. Huff Asset Management Co., LLC v. Deloitte &

16   Touche LLP, 549 F.3d 100 (2d Cir. 2008), makes clear that a plaintiff has standing under the

17   “prudential exception” to Article III of the U.S. Constitution “where the plaintiff can demonstrate

18   (1) a close relationship to the injured party and (2) a barrier to the injured party’s ability to assert

19   its own interests.” Id. at 109-10. The prudential exception is routinely applied in cases arising

20   under the PSLRA. See Vivendi, 605 F. Supp. 2d at 578-80 (concluding [Luxembourg and German

21   asset managers] had standing to bring suit on behalf of managed funds under Huff exception); see

22   also Sprint Commc’ns Co., L.P. v. APCC Servs., Inc., 554 U.S. 269, 287-88 (2008) (third-party

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 1   standing “routinely” used in federal courts). Both Universal Germany and Universal Luxembourg

 2   fall squarely within this rule. 3

 3           With respect to adequacy, Rule 23(a)(4) requires that the representative party will “fairly

 4   and adequately protect the interests of the class.” Fed. R. Civ. P. 23(a)(4). In assessing whether

 5   the adequacy requirement has been met, courts in this Circuit consider whether “the representative

 6   plaintiffs and their counsel have any conflicts of interest with other class members” and ask “will

 7   the representative plaintiffs and their counsel prosecute the action vigorously on behalf of the

 8   class?” Staton v. Boeing Co., 327 F.3d 938, 957 (9th Cir. 2003).

 9           As evidenced by the representations in their certifications, see Moriarty Decl. Ex. B,

10   Universal Germany’s and Universal Luxembourg’s interests are perfectly aligned with—and by

11   no means antagonistic to—the Class. Moreover, Universal Germany has been appointed and

12   served as a class representative in actions under the federal securities laws, including In re Cobalt

13   International Energy, Inc. Securities Litigation, Case No. 4:14-cv-3428 (NFA) (S.D. Tex.), which

14   resulted in a $173.8 million recovery in 2018, and In re Conn’s, Inc. Securities Litigation, No.

15   4:14-cv-00548 (KPE) (S.D. Tex.), which resulted in a $22.5 million recovery that same year.

16           Universal has also selected and retained highly competent counsel to litigate the claims

17   on behalf of themselves and the Class. As explained below in Section B, Motley Rice is highly

18   regarded for its experience, knowledge, and ability to conduct complex securities class action

19   litigation. See Moriarty Decl. Ex. D (Motley Rice Shareholder and Securities Fraud Resume).

20   Consequently, Universal is more than adequate to represent the Class and has every incentive to

21   maximize the Class’s recovery.

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       Because the funds lack legal personality, they cannot assign their claims. Even if they could
24
     assign their claims, such assignments would not be necessary given Universal Germany’s and
25   Universal Luxembourg’s ability (and obligation) to represent their funds and the prudential
     exception under Huff.
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 1          In light of the foregoing, Universal respectfully submits that it is the presumptive Lead

 2   Plaintiff and should be appointed Lead Plaintiff for the Action.

 3   B.     The Court Should Approve Universal’s Selection of Lead Counsel

 4          The PSLRA vests authority in the lead plaintiff to select and retain lead counsel, subject

 5   to the Court’s approval. See 15 U.S.C. § 78u-4(a)(3)(B)(v); 15 U.S.C. § 77z-1(a)(3)(B)(v).

 6   Universal has selected Motley Rice to serve as lead counsel for the proposed Class. Motley Rice

 7   has substantial experience representing defrauded investors and a demonstrated history of success

 8   serving as lead counsel in numerous securities fraud class actions. See Moriarty Decl. Ex. D.

 9   Motley Rice’s experience in the prosecution of securities class actions is derived from, among

10   other things, its service as lead counsel in Bennett v. Sprint Nextel Corp., No. 2:09-cv-02122-

11   EFM-KMH (D. Kan.), in which it secured a recovery of $131 million for the investor class.

12   Motley Rice also served as sole lead and then sole class counsel in In re Barrick Gold Securities

13   Litigation, No. 1:13-cv-03851-RPP (S.D.N.Y.), in which it achieved a recovery of $140 million

14   for the investor class. Courts in this Circuit have likewise recognized Motley Rice as adequate

15   and qualified class counsel in securities class actions, including in In re Twitter, Inc. Securities

16   Litigation, No. 16-cv-05314 (N.D. Cal.), in which the firm (as sole lead counsel and co-class

17   counsel) reached an $809.5 million settlement agreement in favor of an investor class in 2021 on

18   the eve of trial (pending court approval). Furthermore, Motley Rice and Universal has a long

19   history of working together for the benefit of classes of investors, including in Cobalt and Conn’s.

20                                            CONCLUSION

21          For the foregoing reasons, Universal respectfully requests that the Court: (i) appoint

22   Universal Lead Plaintiff; (iii) approve its selection of Motley Rice as Lead Counsel on behalf of

23   the Class; and (iii) grant such other relief as the Court may deem just and proper.

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     UNIVERSAL’S MOTION FOR APPOINTMENT AS
     LEAD PLAINTIFF AND APPROVAL OF LEAD
     COUNSEL (2:22-CV-00617) - 12
